         Case 1:21-cr-00513-RBW Document 17 Filed 10/12/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-513 (RBW)
                                     )
WILLIAM WATSON,                      )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

October 12, 2021, via videoconference, it is hereby

       ORDERED that, on December 7, 2021, at 9:30 a.m., the parties shall appear before the

Court for a status hearing, via videoconference. It is further

       ORDERED that, with the consent of both the defendant and the government, the time

from September 7, 2021, to December 7, 2021, is excluded under the Speedy Trial Act, in light

of the facts that (1) the government requires additional time to produce discovery to the

defendant, and (2) the defendant and his counsel require time to review that discovery.

        SO ORDERED this 12th day of October, 2021.




                                                      REGGIE B. WALTON
                                                      United States District Court Judge
